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                     In The Matter Of:
                 Great American Assurance v.
              Braddy Preparatory Academy, et al.




                  Dr. Carroll Harrison Braddy
                        August 19, 2020




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 1 locations did you use them?                                1   policies in place for the East Point campus?
 2 A. Different, different facilities: 125,                   2   A. Not that I, not that I recall.
 3 Highway 138, Riverdale, 7265 Mt. Zion Road.                3   Q. Hand you what we've previously marked as
 4 Q. Any other properties or locations?                      4   Exhibit 37. If you will just kind of, you know, take
 5 A. Not that I recall.                                      5   a quick look through -- well, take as much time as
 6 Q. And I think you said that Keith Hughes did              6   you need to review that e-mail correspondence.
 7 not visit the campus prior to --                           7   A. Okay.
 8 A. Right.                                                  8   Q. It does not look to me like you were copied
 9 Q. -- the vandalism occurring; is that right?              9   on any of those messages, but I would like to confirm
10 A. Correct.                                               10   that; you know, if there's a BCC that didn't show up
11 Q. So he only saw it in a post vandalized                 11   on, you know, the printed copies that we got or
12 state?                                                    12   anything like that. I just want to make sure that
13 A. Right.                                                 13   that is correct and that you were not copied in any
14 Q. Okay. So did -- post April of 2018, did                14   way, shape, or form on any of this e-mail
15 Braddy Prep ever occupy 1706 Washington Road?             15   correspondence.
16 A. No.                                                    16   A. No. Not that I -- I don't see me being
17 Q. What's your understanding of when Point                17   copied on this.
18 University left the -- what we're calling the East        18   Q. And as you're sitting here right now
19 Point campus?                                             19   looking at this correspondence, do you recall, you
20 A. I have absolutely no clue when they left.              20   know, other than sitting here right now being
21 Q. Is it fair to say that when you were in the            21   provided a copy of it before today?
22 process of negotiating the lease for the East Point       22   A. A copy of this?
23 campus Point had, had been out for some time?             23   Q. Correct.
24 A. I think, I think it's fair to say that                 24   A. No. I don't recall.
25 they -- that Point University wasn't -- was no longer     25   Q. And, you know, Lorraine never forwarded you

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 1   occupying East Point campus when I negotiated the        1   any of the e-mails that are in the body of, you know,
 2   lease.                                                   2   the messages that are contained in Exhibit 37?
 3      MR. DOWLING: Okay. Go off the record for              3   A. From Linda, from Heidi, from Gizela
 4   a second.                                                4   (inaudible).
 5      (Whereupon, a discussion was held off the             5      THE REPORTER: Keep your voice up or just
 6   record.)                                                 6   think to yourself cause I'm having a hard time
 7   Q. (By Mr. Dowling) In terms of procuring                7   hearing you.
 8   insurance for the East Point campus, my understanding    8      THE WITNESS: Oh, I'm sorry. I'm just
 9   is that you delegated that completely to Lorraine        9   reading.
10   Brooks; is that right?                                  10      No. She didn't -- Lorraine didn't forward
11   A. Yes.                                                 11   me anything.
12   Q. And you never personally had any                     12   Q. (By Mr. Dowling) Yeah. Just wanted to make
13   interactions whatsoever with anyone affiliated with     13   sure.
14   Powers-Leavitt Insurance Agency during the time that    14      And walk me through, you know, the -- at
15   you were negotiating the lease and procuring            15   what point during the lease negotiations did the, you
16   insurance?                                              16   know, insurance procurement process start? And how
17   A. I don't know if I spoke with Gizela Evans            17   did you go about communicating to Lorraine what you
18   via phone or not.                                       18   needed given the lease negotiations?
19   Q. I know you did afterwards with Russ Hart.            19   A. Once we received the initial license which
20   A. Yeah. So I don't recall speaking with her            20   was separate from the lease that became a part of the
21   during the -- it was all via, you know, e-mailing,      21   lease --
22   you know, back and forth with landlord, et cetera.      22   Q. Right.
23   Q. And during those -- did you have any                 23   A. -- we -- I gave it to Lorraine and she
24   insurance-related conversations with the landlord       24   looked. And I told her we need to have -- you know,
25   during the period you were working to try to get the    25   we need to get insurance. And within the body of the


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